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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    PATRICIA McFADDEN,                                    CASE NO. C19-1806-JCC
10                            Plaintiff,                    MINUTE ORDER
11            v.

12    CHURCH OF JESUS CHRIST OF LATTER-
      DAY SAINTS,
13
                              Defendant.
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16          The following Minute Order is made by direction of the Court, the Honorable John C.

17   Coughenour, United States District Judge:

18          This matter comes before the Court on the parties’ stipulated notice of dismissal (Dkt.

19   No. 31). Federal Rule of Civil Procedure 41(a)(1)(A)(ii) provides that a “plaintiff may dismiss an

20   action without a court order by filing . . . a stipulation of dismissal signed by all parties who have

21   appeared.” Here, the parties nevertheless request that the Court enter a proposed order filed with

22   their stipulation. The parties have stipulated to dismissing all claims with prejudice, and the

23   stipulation is signed by all parties who have appeared. (See Dkt. No. 31.) Thus, under Federal

24   Rule of Civil Procedure 41(a)(1)(A)(ii), this stipulation is self-executing. All claims in this action

25   are DISMISSED with prejudice without costs to any party, with each party to bear its own

26   attorney fees and other litigation expenses. The Clerk is DIRECTED to close this case.


     MINUTE ORDER
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 1        DATED this 27th day of April 2021.

 2                                             William M. McCool
                                               Clerk of Court
 3
                                               s/Paula McNabb
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                                               Deputy Clerk
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